OFT (12/1/16)                     UNITED STATES BANKRUPTCY COURT                     U.S. BANKRUPTCY COURT
                                           District of Oregon                         DISTRICT OF OREGON
                                                                                            FILED
In re                                             )
 Carma Jean Blatter                               ) Case No. 18−61656−tmr7          July 5, 2018
Debtor(s)                                         )                        Clerk, U.S. Bankruptcy Court
                                                  )
                                                  ) ORDER AND NOTICE                 BY DEPUTY
                                                  ) OF TIME TO FILE CLAIMS
                                                  )
                                                  )


The trustee anticipates receiving funds which may be sufficient to pay a dividend to creditors, therefore,

IT IS ORDERED AND NOTICE IS GIVEN that:

1. The deadline to file a Proof of Claim is 10/3/18 for all creditors, except for governmental units for which
   a later deadline may apply; see Fed. Rule Bankr. Proc. 3002(c)(1). Your claim must be received by the
   bankruptcy clerk's office by this deadline.

2. Any surplus of funds remaining after payment of filed claims will be returned to the debtor(s).

                                                                                Clerk, U.S. Bankruptcy Court

TO FILE A CLAIM:

(a) File a proof of claim at www.orb.uscourts.gov. Select Proof of Claim (ePOC) and follow the steps to
    create and electronically file a proof of claim on the required form. No login/password is required.

(b) If you have already filed a claim in this case, do not file it again.

(c) If you do not have internet access, please call the court at 503−326−1500 or 541−431−4000 to
    request a claim form.

NOTICE IS GIVEN that, pursuant to LBR 2016−1(i)(1), the trustee may incur and pay from estate funds, or
reimburse the trustee from estate funds, up to $1,000 in the aggregate for the following actual and
necessary expenses to preserve or protect the estate: bond premiums, bank fees, court fees, UCC search
fees, property−title search fees, and locksmith or security charges. An interested party may object within
21 days after the date in the "FILED" stamp above by filing a written objection, setting forth the specific
grounds for the objection, with the Clerk of Court and serving a copy of the objection upon the trustee. If
the 5−digit portion of the Case No. begins with "3" or "4", mail the objection to: 1001 SW 5th Ave., #700,
Portland, OR 97204. If the 5−digit portion of the Case No. begins with "6" or "7", mail the objection to : 405
E. 8th Ave., #2600, Eugene, OR 97401. Service may be made upon the trustee at: Vanesa Pancic, POB
280, Wilsonville OR, 97070.




                             Case 18-61656-tmr7          Doc 13     Filed 07/05/18
